Case 3:15-cv-01351-B.]D-.]BI Document 25 Filed 03/26/18 Page 1 of 2 Page|D 116

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

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JACKSONVILLE DIVISION §§
5 m °"'l
UNITED STATES OF AMERICA § cr r\;~ .....
ex rel. MIcHAEL o’coNNoR and §§ °`-’ r';
CELIA RUMANN, Egv_ § a
; = fry dr
Plaintiffs, 5 § __`_
Case No. 15-CV-1351-J'_3 T @
v. . `~
ARIZONA SUMMIT LAW SCHOOL, FILED IN CAMERA AND
LLC, et al., UNDER SEAL
Defendants.

 

 

NOTICE OF VOLUNTARY DISMISSAL

PLEASE TAKE NOTICE, that pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i),
Relators Michael O’Connor and Celia Rumann hereby dismiss this action
WlTHOUT PREJUDICE. As required for Voluntary dismissal under Rule
41(a)(l)(A)(i), Defendants have neither filed an answer nor moved for summary
judgment The False Claims Act requires that the government give written consent
prior to the dismissal of an action. 31 U.S.C. § 3730(b)(1). The United States has
advised Relators’ counsel that it Will file a separate notice indicating their consent

to dismissal.

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Case 3:15-cv-01351-B.]D-.]§;|' Document 25 Filed 03/26/18 Page 2 of 2 Page|D 117

Dated: February 16, 2018

Respectfully submitted,

JAMES HOYER, P.A.

By: sf Jesse L. Hover

 

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